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                           UNITED STATES DISCTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

 COMMERCE INSURANCE COMPANY                       )
 a/s/o MICHAEL A. BLANEY,                         )
                                                  )
                                Plaintiff,        )   CIVIL ACTION NO.
                                                  )
 v.                                               )
                                                  )
 GLENTRONICS, INC.,                               )
                                                  )
                                Defendant         )
                                                  )

                                   NOTICE OF REMOVAL

         Now comes defendant, Glentronics, Inc. (“Defendant”), by and through undersigned

counsel, and file this Notice of Removal to this Court pursuant to 28 U.S.C. §§ 1432, 1441, and

1446, and hereby gives notice of the removal of this action from the Superior Court Department,

Suffolk Division, of the Commonwealth of Massachusetts Trial Courts to the United States

District Court for the District of Massachusetts, Boston Division. In support of this removal, the

Defendant states as follows:

                                        I.    THE COMPLAINT

      The Complaint was filed in the Suffolk Superior Court in Civil Action No. 2284CV01357

styled Commerce Insurance Company a/s/o Michael A. Blaney v. Glentronics, Inc., on June 16,

2022. Copies of the documents served on the Defendant are attached, Exhibit A. Certified copies

of all pleadings and proceeding in the action will be electronically filed within fourteen (14) days

of the date of this removal. The plaintiff seeks damages on theories of negligence, breach of

express contract, breach of implied contract, and breach of implied warranty arising out of an

alleged fire that occurred on October 17, 2019.

                                  II.        REMOVAL IS TIMELY
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   The Notice of Removal is being filed, pursuant to 28 U.S.C. §1446, within thirty (30) days

from the date this action first became removable. The summons and Complaint were served on

Defendant on June 27, 2022.

                               III.    DIVERSITY JURISDICTION

   This case is properly removable pursuant to 28 U.S.C. § 1441, which provides in pertinent

part as follows:

   (a) Generally. –

       Except as otherwise expressly provided by Act of Congress, any civil action brought in a
       state court of which the district courts of the United States have original jurisdiction, may
       be removed by the defendant or the defendants, to the District Court of the United States
       for the district or division embracing the place where such action is pending.

   (b) Removal Based on Diversity of Citizenship - …

       (2) A civil action otherwise removable solely on the basis of the jurisdiction under
       section 1332(a) of this title may not be removed if any of the parties in interest properly
       joined and served as defendants is a citizen of the State in which such action is brought.

        This action is properly removable under 28 U.S.C. § 1441 (a) and (b) because the United
States District Court has original jurisdiction of this case under 28 U.S.C. § 1332(a) and (c), as
amended, which provides in pertinent part as follows:

       (a) The district courts shall have original jurisdiction of all civil actions where the matter
           in controversy exceeds the sum or value of $75,000, exclusive interest and costs, and
           is between –

               (1) Citizens of different states…

       (c) For the purposes of this section and section 1441 of this title –

               (1) A corporation shall be deemed to be a citizen of every State and foreign state
                   by which it has been incorporated and of the state or foreign state where it has
                   its principal place of business…

   A. Diversity of Citizenship
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   There is complete diversity of citizenship as plaintiff is a citizen of the Commonwealth of

Massachusetts and Defendant is a citizen of the State of Illinois. See Exhibit A; see also

Secretary of the State of Illinois Corporation Search Summary, attached hereto as Exhibit B.

   B. Amount in Controversy

   The amount in controversy exceeds $75,000, exclusive of interest and costs, as claimed by

plaintiff. The Civil Action Cover Sheet for Plaintiff’s action claims approximately $130,612.93

in damages. See Exhibit A.

                                       IV.    CONCLUSION

   Contemporaneously with the filing of this Notice of Removal, Defendant has filed same with

the Clerk of the Suffolk Superior Court in accordance with 28 U.S.C. § 1446(d). Defendant

reserves the right to supplement this Notice of Removal.

   WHEREFORE, Defendant respectfully requests that this action pending in the Suffolk

Superior Court be removed to this Court.

                                             Defendant,
                                             GLENTRONICS, INC.
                                             By its attorneys,


                                             /s/ John F. Rooney, III
                                             John F. Rooney, III, BBO #426895
                                             Jacqueline A. Crockwell, BBO #704580
                                             Melick & Porter, LLP
                                             One Liberty Square, 7th Floor
                                             Boston, Massachusetts 02109
                                             Telephone: (617) 523-6200
                                             Facsimile: (617) 523-8130
Dated: July 14, 2022
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                                 CERTIFICATE OF SERVICE

        I, Jacqueline A. Crockwell, hereby certify that I have, on this day, served a true and
accurate copy of the foregoing document via electronic mail, upon the following counsel of
record:

       Diana D. O’Hara, Esq.
       Parenteau & O’Hara
       1661 Worcester Road, Suite 204
       Framingham, MA 01701
       do@nesubro.com


                                                     /s/Jacqueline A. Crockwell
Date: July 14, 2022                                  Jacqueline A. Crockwell
